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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION



IN RE: BLACKBAUD, INC.,                             Case No. 3:20-mn-02972-JFA
CUSTOMER DATA SECURITY
BREACH LITIGATION                                   MDL No. 2972




                                    JOINT STATUS REPORT

       Consistent with the Court’s direction during the conference held on April 10, 2025, the

Parties submit this Joint Status Report to apprise the Court of the status of their efforts to finalize

the settlement agreements and other necessary documents.

       Since the Parties notified the Court of the Parties’ agreement in principle to settle this

matter, the Parties have spent significant time drafting, exchanging, and discussing the Master and

separate Individual Settlement Agreements required by this settlement.             The Parties have

exchanged numerous drafts of the settlement agreements and have reached agreement on all

substantive elements. The only remaining work to be performed is the clarification of certain

language contained in the settlement agreements and securing all necessary approvals of the

finalized settlement agreements.

       Given the schedules of counsel (including several who have been or are soon to be out of

the country), and the number of approvals necessary to finalize the settlement agreements, the

Parties respectfully request additional time to finalize the agreements. The Parties request that

they have until June 30, 2025, to file a joint status report with the Court informing the Court of the




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Parties’ agreement as to a final set of the settlement agreements. Should the settlement agreements

be finalized before June 30, 2025, the Parties will file a joint status report so informing the Court.

        In addition, the Parties wish to advise the Court that they anticipate using a Qualified

Settlement Fund (“QSF”) pursuant to Treasury Regulation § 1.468B-1 to handle the distribution

of the settlement proceeds in this matter, subject to Court approval and order establishing the fund.

To that end, the Parties anticipate submitting a consent order for the Court’s consideration.

        Also, during the conference on April 10, 205, the Parties advised the Court that Plaintiffs’

counsel had been unable to contact Plaintiff, Heidi Atwood. Contact has still not been made with

Plaintiff Atwood and a motion to dismiss her claims for lack of prosecution will be filed once the

settlement documents are executed by all Parties. At this time, Plaintiffs’ counsel is not aware of

any other similarly situated Plaintiffs. Plaintiff Kathryn Mortensen filed a stipulation of dismissal

on May 7, 2025.

        The Parties respectively request that they be given until June 30, 2025, to provide the Court

with a further joint status report.

 Dated: June 10, 2025                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2025, the foregoing was filed using the Court’s CM/ECF

service, which will send notification of such filing to all counsel of record.

                                                              /s/ Harper T. Segui
                                                              Harper T. Segui
